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E)<hibit B

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SERVE
2015CVF000510 D4

cITATIoN BY cERTIFIED MAIL
THE STATE oF TExAs
coURT DATE 05/27/2015@2=00PM

NOTICE TO THE DEFENDANT: “YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY.
IF YOU OR YOUR ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO
ISSUED THIS CITATION BY lO:OO A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION
OF TWENTY DAYS AFTER YOU WERE SERVED THIS CITATION AND PETITION, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU.”

TO: ASI LLOYDS BY SERVING ITS ATTORNEY FOR SERVICE,RODNEY D. BUCKER AT:
700 NORTH PEARL ST 25TH FLOOR
DALLAS, TX 75201

DEFENDANT, IN THE HEREINAFTER STYLED AND NUMBERED CAUSE, YOU ARE HEREBY
COMMANDED TO APPEAR BEFORE THE 406TH DISTRICT COURT Of Webb COunty, TeXaS,
to be held at the Said courthouse of Said county in the city of Laredo, Webb
County, Texae, by filing a written answer to the Petition of Plaintiff at or
before lO:OO O'CLOCK A.M. of the Monday next after the expiration of 20 days
after the date of Service thereof, a copy of which accompanies this citation,
in the CauSe #: 2015CVF000510 D4 , Styled:

ADRIAN TELLO AND MARY ANN VASQUEZ TELLO PLAINTIFFS

VS.
ASI LLOYDS AND JACK FIELDER DEFENDANTS

Said Plaintiff'e Petition was filed on 02/11/2015 in said court by:

DANNY RAY SCOTT, (ATTORNEY FOR PLAINTIFF)
350 PINE STREET SUITE 300
BEAUMONT, TX 77701

WITNESS ESTHER DEGOLLADO, DISTRICT CLERK OF WEBB COUNTY, TEXAS, iSSued and
given under my hand and Seal of eaid court at office, this 20 day of February,

2015. n
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CLERK’S CERTIFICATE OF SERVICE

I, Clerk of the District Courts and County Court at Law of Webb County,
Texas, certify that I executed the foregoing citation in Webb County, Texas
on this 20 day of February, 2015, by placing in the United States mail a true
COpy of this citation, with true copy of the aforesaid Pleading attached
thereto, via Certified Mail No.7014-0510-0000-1440-8964 ADDRESSED TO:
ASI LLOYDS, 700 NORTH PEARL S'I' 25'I‘H FLOOR, DALLAS, TX 75201, and endOrSed
thereon “RETURN RECEIPT REQUESTED,” after having first endorsed on said copy
of said citation the date of mailing and the name and address of the within-
named recipient, to certify which witness my hand officially this 20 day of
February, 2015.

____,_\\\111\:11111;,,_,_ ESTHER DEGoLLADo
____D cLERK oF THE DISTRICT coURTs AND
MNTY coURT-AT-LAW

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CAUSE NO. /_ `: ‘// \/ \ (:L __1:, j E::_(

ADRIAN TELLO and § IN THE DISTRICT COURT
MARY ANN VASQUEZ TELLO § __ _
§ act cri "
v § ' -‘ '-~ ]UDICIAL DISTRICT
§
ASI LLOYDS and §
]ACK FIELDER § WEBB COUNTY, TEXAS

PLAINTIFFS’ ORIGINAL PETITION
TO THE HONORABLE ]UDGE OF SAID COURT:

NOW COME ADRIAN TELLO and MARY ANN VASQUEZ TELLO (herein after referred
to as ”Plaintiffs”), complaining of Defendants, ASI LLOYDS and ]ACK FIELDER (hereinafter
referred to as ”FIELDER”) and hereby respectfully show unto the Court and ]ury as folloWS:

DISCOVERY CONTROL PLAN
1. Plaintiffs intend for discovery to be conducted under Level 3 of Rule 190 of the
Texas Rules of Civil Procedure. This case involves complex issues and Will require extensive
discovery. Tlierefore, Plaintiffs ask the Court to order that discovery be conducted in
accordance With a discovery control plan tailored to the particular circumstances of this suit.
PARTIES
2. Plaintiffs, ADRIAN TELLO and MARY ANN VASQUEZ TELLO, are individuals
and residents of Webb County and citizen of the state of Texas.
3. Defendant, ASI LLOYDS is a domestic insurance carrier, incorporated and
engaging in the business of insurance in the State of Texas, and may be served With process by
serving its Attorney for Service, Rodney D. Bucl<er, 700 North Pearl Street, 25th Floor, Dallas,

Texas 75201.

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4. Defendant, ]ACK FIELDER, is an individual and resident of Medina County,
Texas and a citizen of the State of Texas and may be served with process at 16407 County Road
283, San Antonio, Texas 78253.

]URISDICTION AND _VENUE

5. This Court has ]urisdiction over this case in that the amount in controversy
exceeds the minimum jurisdictional limits of this Court.

6, Venue is mandatory and proper in Webb County, Texas, because all or a
Substantial part of the events giving rise to the lawsuit occurred in this county (see Tex. Civ.
Prac. & Rem. Code §15.002).

CONDITIONS PRECEDENT

7. All conditions precedent to recovery have been performed, Waived, or have
occurred.
RESPONDEAT SU'PERIOR
8. At all times relevant hereto, Defendant FIELDER, was acting in the course and

scope of his employment with ASI for Which ASI is liable for their acts and/or omissions.
AGENCY
9. At all times relevant hereto, Defendant, FIELDER, was acting as an agent of ASI
LLOYDS with actual or apparent authority and within the course and scope of their agency
relationship.
FACTS
10. Plaintiffs are the owners of a homeowner insurance policy/ policy number

TXL367584, issued by the Defendant (hereinafter referred to as the ”Policy”).

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11. Plaintiffs owned the insured property that is specifically located at 712 Garnet
Drive, l_.aredo, Texas 78045 (hereinafter referred to as the "Property”).

12. Defendant or its agent Sold the Policy/ insuring the property, to Plaintiffs.

13. On or about ]anuary 2, 2013, Plaintiffs' property sustained Windstorm and hail
damage. Plaintiffs' roof sustained extensive damage during the storm including damage to the
shingles, roof jacl<, drip edge, and other structural parts of the roof. Plaintiffs also sustained
exterior damage to the cornice and siding, Windows, fence and a/c unit, Water intrusion from
the roof damaged the interior of the home, specifically the attic. After the storm, Plaintiffs filed a
claim with their insurance company, ASI LLOYDS, for the damages to their home caused by the
storm.

14. Plaintiffs submitted a claim to ASI LLOYDS against the Policy for damage
caused to the property as a result of the wind and hail. Plaintiffs asked ASI LLOYDS to cover
the cost of repairs to the Property pursuant to the Policy and any other available coverages
under the Policy. ASI LLOYDS assigned claim number 273614-144402 to Plaintiffs’ claim.

15. On or about ]une 30, 2014, FIELDER, on behalf of ASI LLOYDS, inspected the
property in question The storm caused significant damage to the roof, including pitting and
loss of granules to the shingles. The hail pitting damage bruised the shingles, while removing
and crushing the granules. Wind damage uplifted and removed shingles, which would not
allow the shingles to reseal to prevent Water intrusion

16. FIELDER’$ unreasonable investigation of the claim included a failure to comply
With ASI LLOYDS' policies and procedures concerning roof inspections and when to replace or

repair a roof. The roof required full replacement under ASI LLOYDS’ policies and procedures

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including repairs to the roof jacl<, drip edge, and other structural parts of the roof. FIELDER
performed an unreasonable investigation by failing to document any of the damage to the roof.
As a result of FIELDER's unreasonable and brief investigation, Plaintiffs were wrongly denied
the full cost to replace the roof.

17. The storm additionally caused extensive damage to the exterior of the property.
Specifically, it caused damage to the cornice and siding, windows, fence and a/c unit. FIELDER
did not conduct a thorough exterior inspection and failed to identify and allow for all necessary
cost to repair any of the exterior damage. As a result of FIELDER's unreasonable exterior
investigation, Plaintiffs were Wrongly denied the full cost to repair the exterior damage to the
cornice, siding and windows, and remove and replace the fence and a/c unit. FIELDER also
denied Plaintiffs the cost for construction cleanup, debris removal, a job permit, and temporary
utilities, although all of the cost Was covered under the Policy.

18. FIELDER performed an insufficient and unreasonable interior investigation of
the Property. FIELDER failed to inspect the attic to identify or rule out Water intrusion through
the compromised roof, As a result of FIELDER's unreasonable investigation, Plaintiffs were
Wrongly denied the full cost to repair the interior damage to the attic.

19. FIELDER Wrongly denied Plaintiffs the cost for overhead and profit although it
was likely that the damages warranted the services of a general contractor At the time and
investigation of Plaintiffs' claim, denying overhead and profit was part of a pattern and practice
of claim handling by ASI LLOYDS. ASI LLOYDS prematurely closed Plaintiffs’ claim Without

any oversight of quality control.

20. ASI LLOYDS failed to properly adjust the claim and Defendant has denied at

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least a portion of the claim without an adequate investigation, even though the Policy provided
coverage for losses such as those suffered by Plaintiffs, Furthermore, ASI LLOYDS underpaid
some of Plaintiffs' claims by not providing full coverage for the damages sustained by Plaintiffs,
as well as under-scoping the damages during its investigation

21. To date, ASI LLOYDS continues to delay in the payment for the damages to the
Property. As such, Plaintiffs' claim(s) still remain unpaid and the Plaintiffs still have not been
able to properly repair the Property.

22. ASI LLOYDS failed to perform its contractual duty to adequately compensate
Plaintiffs under terms of the policy. Specifically, ASI LLOYDS failed and refused to pay any of
the proceeds of the Policy, although due demand was made for proceeds to be paid in an
amount sufficient to cover the damaged Property and all conditions precedent to recovery upon
the Policy had been carried out and accomplished by Plaintiffs. Defendant's conduct
constitutes a breach of the insurance contract between Defendant and Plaintiffs.

23. Defendants misrepresented to Plaintiffs that the damage to the Property was not
covered under the Policy, even though the damage was caused by a covered occurrence.
Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement
Practices. TEX.INS. CODE §541.060 (a) (1).

24, Defendant ASI LLOYDS failed to make an attempt to settle Plaintiffs' claim in a
fair manner, although it was aware of its liability to Plaintiffs under the Policy. Defendant ASI
LLOYDS' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement
Practices. TEX. INS. CODE §541.060 (a)(2)(A).

25. Defendants failed to explain to Plaintiffs the reason for its offer of an inadequate

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settlementl Specifically, ASI LLOYDS and FIELDER failed to offer Plaintiffs adequate
compensation, without adequate explanation of the basis in the policy why full payment Was
not being made. Further, Defendants ASI LLOYDS and FIELDER did not communicate that
any future settlements or payments would be forthcoming to pay for the entire losses covered
under the Policy, nor did they provide any explanation for the failure to adequately settle
Plaintiffs’ claim, Defendants' conduct is a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX. INS. CODE. §541,060 (a)(3).

26. Defendant ASI LLOYDS failed to affirm or deny coverage of Plaintiffs’ claim
Within a reasonable time. Specifically, Plaintiffs did not receive timely indication of acceptance
or rejection, regarding the full and entire claim, in writing from Defendant ASI LLOYDS.
Defendant ASI LLOYDS' conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX.INS.CODE §541.060(a)(4).

27. Defendant ASI LLOYDS refused to fully compensate Plaintiffs, under the terms
of the Policy, even though Defendants failed to conduct a reasonable investigation Specifically,
Defendants performed an outcome-oriented investigation of the Plaintiffs' claim, which resulted
in a biased, unfair, and inadequate evaluation of Plaintiffs' losses on the Property. Defendants'
conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX.INS.CODE §541.060(a)(7).

28. Defendant ASI LLOYDS failed to meet its obligations under the Texas Insurance
Code regarding timely acknowledging Plaintiffs' claim, beginning an investigation of Plaintiffs'
claim, and requesting all information reasonably necessary to investigate Plaintiffs' claim Within

the statutorily mandated time of receiving notice of Plaintiffs’ claim. ASI LLOYDS’ conduct

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constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.
TEX.INS.CODE §542.055.

29. Defendant ASI LLOYDS failed to accept or deny Plaintiffs' full and entire claim
within the statutorily mandated time of receiving all necessary information ASI LLOYDS'
conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX.INS.CODE §542.056.

30. Defendants failed to communicate with Plaintiffs to insure that they understood
the coverage denials that they received.

COUNT ONE! BREACH OF CONTRACT

31. Plaintiffs incorporate paragraphs 10-30 herein.

32. At the time of the ]anuary 2, 2013 incident, Plaintiffs had in place a policy issued
by ASI LLOYDS. The premiums were current. All conditions precedent to recovery were
made. Defendant Wrongfully failed to comply with the terms of the contract. Defendant is,
therefore, in breach of the contract of insurance issued to Plaintiffs.

\V/ 33. Defendant’s conduct constitutes a breach of contract resulting in damages to the
Plaintiffs.
COUNT TVVO: DTPA

34. Plaintiffs incorporate paragraphs 10-30 herein.

35. Plaintiffs are ”consumers” as defined by Tex. Bus. Code § 17.45(4). Plaintiffs
sought or acquired goods or services by purchasing those goods or services from Defendant
ASI LLOYDS violated the TEXAS DscsPTlvs TRADE PRAcncEs AcT (”DTPA”)(TE)<. BUs. & CcM.

CODE §17.44 et seq.) because Defendant engaged in false, misleading and/or deceptive acts or

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practices that Plaintiffs relied on to their detriment
36. The acts and omissions of Defendant also constitute violations of the Texas

Deceptive Trade Practice Act, including/ but not limited to:

a. Committing false, misleading or deceptive acts or practices as defined by
§17.46(b); and
b. Use of employment of an act or practice in violation of the Texas

Insurance Code Chapter 541 .151 et seq. as described herein.

37. The acts and omissions of Defendants Were a producing cause of the Plaintiffs’
damages
38. Defendants' conduct Was committed knowingly and/or intentionally because, at

the time of the acts and practices complained of, Defendant had actual awareness of the falsity,
deception or unfairness of the acts or practices giving rise to Plaintiffs’ claim and they acted
With a specific intent that Plaintiffs act in detrimental reliance on the falsity or deception and/or
in detrimental ignorance of the unfairness

39. Plaintiffs gave Defendant, ASI LLOYDS, notice as required by DTPA §17.50(a).

COUNT THREE: §541 ET SEQ. TExAs INSURANCE CODE

40. Plaintiffs incorporate paragraphs 10-30 herein.

41. ASI LLOYDS and FIELD‘ER violated the TExAs INSURANCE CODE § 541 et seq.
because they engaged in unfair and/or deceptive acts or practices in the business of insurance.
Specifically, ASI LLOYDS and FIELDER’s acts and omission include violation of:

a. §541.051;
b, §541.051(4);

c. engaging in unfair settlement practices by (§541.060):

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i. misrepresenting to Plaintiffs a material fact or policy provision
relating to coverage at issue,'

ii. failing to attempt in good faith to effectuate a prompt, fair, and n
equitable settlement of Plaintiffs' claim with respect to which i
ASI LLOYDS' liability has become reasonably clear,' `

iii. failing to promptly provide Plaintiffs a reasonable explanation of `
the factual and legal basis in the policy for ASI LLOYDS' denial of
the claim,'

iv, failing to affirm or deny coverage within a reasonable time; and
refusing to pay a claim without conducting a reasonable
investigation of the claim,

d. misrepresenting Plaintiffs’ insurance policy by (§541.061):
i. making an untrue statement of material fact;
ii. failing to state a material fact that is necessary to make other
statements made not misleading, considering the circumstances

under which the statements were made; and

iii. making a statement in such a manner as to mislead a reasonably
prudent person to a false conclusion of a material fact,' and

e. §17.46(b) of the TExAs DECEPTIVE TRADE PRACTICE AcT, incorporated by 1-
TExAs INSURANCE CoDE §541,151.

42. ASI LLOYDS and FIELDER'$ conduct were committed knowingly because
Defendants had actual awareness of the falsity, unfairness or deception of their acts or practices
made the basis for Plaintiffs’ claim for damages under the TEXAS INSURAI\ICE CODE.

43. Plaintiffs gave Defendants notice as required by §541.154 of the TEXAS
INSURANCE CODE. Plaintiffs have attached a copy of the DTPA Demand Letter as Exhibit A.

44. Defendant conduct described above Was a producing cause Of Plaintiffs' injuries.

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COUNT FOUR: TEXAS lNSURANCE CODE §542

45. Plaintiffs incorporate paragraphs 10-30 herein.

46. ASI LLOYDS violated the Texas Insurance Code section 542 because they failed

to do the following within the statutorily mandated time of receiving all necessary information:

a. Failing to timely acknowledge the Plaintiffs' claim;

b. Failing to commence an investigation of Plaintiffs’ claim;

c. Failing to request all information reasonably necessary to investigate
Plaintiffs’ claim within the statutorily mandated deadlines;

d, Failing to give proper notice of the acceptance or rejection of part or all of
Plaintiffs' claim,'

e. Failing to accept or deny Plaintiffs’ full and entire claim within the
statutorily mandated time of receiving all information,'

f. Failing to pay Plaintiffs' claim without delay; and

g. Failing to include the requisite penalty interest on any and all payments
made beyond the statutorily designated time to make payment in full for
Plaintiffs’ claim,

47. Such failures constitute violations of Texas Insurance Code Section 542.055,

542.056, 542.057, and 542.058. As a result of the foregoing violations, Plaintiffs request damages

under Texas Insurance Code section 542.060.

COUNT FIVE: GOOD FAITH AND FAIR DEALING

48. Plaintiff incorporates paragraphs 10-30 herein.

49. ASI LLOYDS and FIELDER owed Plaintiffs a duty of good faith and fair dealing.

ASI LLOYDS and FIELDER breached this duty when they denied Plaintiffs' claim because ASl

LLOYDS and FIELDER knew or should have known that it was reasonably clear that Plaintiffs'

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claim was covered. ASI LLOYDS and FIELDER’s breach of this duty was a proximate cause of
Plaintiffs' damages.
COUNT SIX¢ FRAUD

50. Plaintiffs incorporate paragraphs 10-30 herein.

51. Common Law Fraud. Defendant, ASI LLOYDS and FIELDER made various
representations to the Plaintiffs regarding their windstorm / hailstorm claim, including material
representations regarding prior repairs, material representations regarding policy coverages,
whether or not claims were covered, and/or the value of claims, which were material and false.
At the time ASI LLOYDS and `FIELDER made the representations they knew the representations
were false or made the representations recklessly as a positive assertion without knowledge of
the truth. ASI LLOYDS and FIELDER made these representations with the intent that the
Plaintiffs act on them by not further pursuing claims and/or thinking there was no other money
to recover. Plaintiffs relied on the representations and this caused injury.

52. Constructive Fraud. A breach of fiduciary duty is a form of constructive fraud.
The acts and omissions of ASI LLOYDS and FIELDER constitute constructive fraud.

53. Fraud by Non-disclosure.

(a) ASI LLOYDS had a duty to Plaintiffs to disclose the extent and value of
damages suffered by Plaintiffs and that it owed Plaintiffs money for their claim. ASI
LLOYDS concealed from, or failed to disclose these facts to Plaintiffs. The facts were
material and ASI LLOYDS knew that the Plaintiffs were ignorant of the facts and that
Plaintiffs did not have an equal opportunity to discover the facts.

(b) ASI LLOYDS was deliberately silent when they owed a duty to advise

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Plaintiffs of the damages and the extent of the damages and the amount it owed

Plaintiffs. By failing to disclose these facts ASI LLOYDS intended to induce the Plaintiffs

to believe no money was owed on the claim. Plaintiffs relied on the non-disclosure and

were injured.

AMBIGUITY

54. The policy in place at the time of ]anuary 2, 2013, policy number TXL367584,
contained patent and latent ambiguities concerning the terms of the policy governing the
insured’s duties after loss.

WAIVER AND ESTOPPEL

55, Defendant has waived and is estopped from asserting any coverage defenses,
conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter
to Plaintiffs.

DAMAGES

56. As a direct result of Defendants’ conduct, Plaintiffs have suffered economic
damages all of which they is entitled to recover. Plaintiffs are entitled to recover, in addition to
the amount of the claim, interest on the amount of the claim at the rate of 18 percent a year as
damages, together with reasonable attorney's fees. Plaintiffs are also entitled to recover mental
anguish damages because Defendants acted in bad faith and because Defendant knowing
conduct was the producing cause of Plaintiffs' mental anguile

57. Pursuant to the DTPA and the Texas Insurance Code, Plaintiffs are also entitled
to recover treble damages because Defendants’ conduct was committed knowingly.

58. Plaintiffs are entitled to exemplary damages as a result of Defendant’s breach of

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duties owed as described above. When viewed objectively from the standpoint of the
Defendants’ at the time of the occurrence in question, Defendants’ conduct involved an extreme
degree of risk, considering the probability and magnitude of the harm to others and of Which
the Defendants had actual, subjective awareness of the risk involved, but nevertheless
proceeded with conscious indifference to the rights, safety, or welfare of others. In the
alternative, Defendants had specific intent to cause substantial harm to Plaintiffs.

59. The exact amount of Plaintiffs' damages are unknown, Based on the information
cu rrently available to Plaintiffs, Plaintiffs believe their damages exceed $200,000.00, but are less
than $1,000,000,00 including damages of any kind, penalties, costs, expenses, pre-judgment
interest and attorney’s fees. Plaintiffs reserve the right to decrease or increase this amount as
further information becomes available.

ATTORNEY FEES

60. Pursuant to TEXAS CIVIL PRACTICES & REMEDIES CODE §§38.001, et seq., DTPA §
17.50(d), and TEXAS INSURANCE Codes § 541.152 and §542.060, Plaintiffs seek recovery of their
reasonable and necessary attorney fees and court costs.

]URY DEMAND
61. Plaintiffs respectfully request a trial by jury.`
PRAYER

62. For these reasons, Plaintiffs ask that they have judgment against Defendants for
their economic damages, mental anguish damages, treble damages, exemplary damages,
reasonable and necessary attorney fees, pre-judgment and post-judgment interest as allowed by

law, costs of suit, and all other relief to which Plaintiffs may show themselves entitled.

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Respectfully Submitted,

SCOTT LAW OFFICES

350 Pine Street, Suite 300
Beaumont, Texas 77701
Telephone: (409) 833-5400
Facsimile: (409) 833-5405

/s/Danny Ray Scolt

 

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February 11, 2015

Rodney D. Bucker

ASI Lloyds

700 North Pearl Street, 25"‘ Floor
Dallas, Texas 75201

Re: lnsured(s): Adrian Tello and Mary Ann Vasquez Tello
Policy No.: TXL367584
Claim No.: 273614-144402
Date of Loss: january 2, 2013

Dear Mr. Bucker:

This is an attempt to resolve all claims between Adrian Tello and Mary Ann Vasquez Tello and
ASI Lloyds. This settlement demand is being provided pursuant to the TEXAS DECEPTIVE TRADE
PRACTICE ACT and INSURANCE CODE on behalf of the above referenced policy holder(s). Our
clients allege violations of §17.46(b) of the DTPA, violations § 541 and § 542 of the INSURANCE
CODE, unfair settlement practices, misrepresentations regarding the above referenced home
insurance policy, and failure to pay the claim promptly.

Our clients' property was covered under a policy with ASI Lloyds (”ASI”) that provided
coverage in the amount of $139,000.00 for property located at 712 Garnet Drive, Laredo, Texas
78045 on the claim loss date of ]anuary 2, 2013. Plaintiffs allege that ASI Lloyds performed an
unreasonable investigation of this loss.

On or about ]anuary 2, 2013, Plaintiffs' property sustained windstorm and hail damage.
Plaintiffs’ roof sustained extensive damage during the storm including damage to the shingles,
roof jack, drip edge, and other structural parts of the roof, Plaintiffs also sustained exterior
damage to the cornice and siding, windows, fence and a/c unit. Water intrusion from the roof
damaged the interior of the home, specifically the attic. After the storm, Plaintiffs filed a claim
with their insurance company, ASI LLOYDS, for the damages to their home caused by the
storm.

Plainti`ffs submitted a claim to ASI LLOYDS against the Policy for damage caused to the
property as a result of the wind and hail. Plaintiffs asked ASI LLOYDS to cover the cost of
repairs to the Property pursuant to the Policy and any other available coverages under the
Policy. ASI LLOYDS assigned claim number 273614-144402 to Plaintiffs’ claim.

On or about ]une 30, 2014, FIELDER, on behalf of ASI LLOYDS, inspected the property in

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question. The storm caused significant damage to the roof, including pitting and loss of
granules to the shingles. The hail pitting damage bruised the shingles, while removing and
crushing the granules. Wind damage uplifted and removed shingles, Which would not allow

the shingles to reseal to prevent water intrusion.

FlELDER’s unreasonable investigation of the claim included a failure to comply with ASI
LLOYDS' policies and procedures concerning roof inspections and when to replace or repair a
roof. The roof required full replacement under ASI LLOYDS’ policies and procedures including
repairs to the roof jack, drip edge, and other structural parts of the roof. FIELDER performed an
unreasonable investigation by failing to document any of the damage to the roof, As a result of
FIELDER's unreasonable and brief investigation, Plaintiffs were wrongly denied the full cost to

replace the roof,

The storm additionally caused extensive damage to the exterior of the property. Specifically, it
caused damage to the cornice and siding, windows, fence and a/c unit. FIELDER did not
conduct a thorough exterior inspection and failed to identify and allow for all necessary cost to
repair any of the exterior damage, As a result of .FIELDER's unreasonable exterior investigation,
Plaintiffs were wrongly denied the full cost to repair the exterior damage to the cornice, siding
and Windows, and remove and replace the fence and a/c unit. FIELDER also denied Plaintiffs
the cost for construction cleanup, debris removal, a job permit, and temporary utilities,

although all of the cost was covered under the Policy.

FIELDER performed an insufficient and unreasonable interior investigation of the Property.
FIELDER failed to inspect the attic to identify or rule out Water intrusion through the
compromised roof, As a result of FIELDER's unreasonable investigation, Plaintiffs were

wrongly denied the full cost to repair the interior damage to the attic.

FIELDER wrongly denied Plaintiffs the cost for Overhead and profit although it was likely that
the damages warranted the services of a general contractor. At the time and investigation of
Plaintiffs’ claim, denying overhead and profit was part of a pattern and practice of claim
handling by ASI LLOYDS. ASI LLOYDS prematurely closed Plaintiffs' claim without any

oversight of quality control.

ASI LLOYDS failed to properly adjust the claim and Defendant has denied at least a portion of
the claim without an adequate investigation, even though the Policy provided coverage for
losses such as those suffered by Plaintiffs. Furthermore, ASI LLOYDS underpaid some of
Plaintiffs' claims by not providing full coverage for the damages sustained by Plaintiffs, as well

as under-scoping the damages during its investigation

To date, ASI LLOYDS continues to delay in the payment for the damages to the Property. As
such, Plaintiffs' claim(s) still remain unpaid and the Plaintiffs still have not been able to

properly repair the Property.

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ASI LLOYDS failed to perform its contractual duty to adequately compensate Plaintiffs under
terms of the policy. Specifically, ASI LLOYDS failed and refused to pay any of the proceeds of
the Policy, although due demand was made for proceeds to be paid in an amount sufficient to
cover the damaged Property and all conditions precedent to recovery upon the Policy had been
carried out and accomplished by Plaintiffs. Defendant's conduct constitutes a breach of the
insurance contract between Defendant and Plaintiffs.

Defendants misrepresented to Plaintiffs that the damage to the Property Was not covered under
the Policy, even though the damage Was caused by a covered occurrence. Defendants’ conduct
constitutes a Violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.INS.

cons §541.060 (a) (1).

Defendant ASI LLOYDS failed to make an attempt to settle Plaintiffs’ claim in a fair manner,
although it was aware of its liability to Plaintiffs under the Policy. Defendant ASI LLOYDS'
conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.
INS. CODE §541.060 (a)(2)(A).

Defendants failed to explain to Plaintiffs the reason for its offer of an inadequate settlement.
Specifically, ASI LLOYDS and FIELDER failed to offer Plaintiffs adequate compensation,
without adequate explanation of the basis in the policy why full payment was not being made.
Further, Defendants ASI LLOYDS and FIELDER did not communicate that any future
settlements or payments would be forthcoming to pay for the entire losses covered under the
Policy, nor did they provide any explanation for the failure to adequately Settle Plaintiffs’ claim.
Defendants’ conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX. INS. CODE. §541.060 (a)(3).

Defendant ASI LLOYDS failed to affirm or deny coverage of Plaintiffs' claim within a
reasonable time. Specifically, Plaintiffs did not receive timely indication of acceptance or
rejection, regarding the full and entire claim, in writing from Defendant ASI LLOYDS.
Defendant ASI LLOYDS' conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX.INS'CODE §541.060(a)(4).

Defendant ASI LLOYDS refused to fully compensate Plaintiffs, under the terms of the Policy,
even though Defendants failed to conduct a reasonable investigation Specifically, Defendants
performed an outcome-oriented investigation of the Plaintiffs' claim, which resulted in a biased,
unfair, and inadequate evaluation of Plaintiffs’ losses on the Property. Defendants' conduct
constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.
TEX‘INS.CODE §541.060(a)(7).

Defendant ASI LLOYDS failed to meet its obligations under the Texas Insurance Code
regarding timely acknowledging Plaintiffs’ claim, beginning an investigation of Plaintiffs’ claim,
and requesting all information reasonably necessary to investigate Plaintiffs' claim within the
statutorily mandated time of receiving notice of Plaintiffs’ claim. ASI LLOYDS’ conduct

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constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.
TEX.INS.CODE §542.055.

Defendant ASI LLOYDS failed to accept or deny Plaintiffs' full and entire claim within the
statutorily mandated time of receiving all necessary information ASl LLOYDS’ conduct
constitutes a violation of the 'l`exas Insurance Code, Unfair Settlement Practices.
TEX.INS.CODE §542.056.

Defendants failed to communicate with Plaintiffs to insure that they understood the coverage
denials that they received.

Plaintiffs have hired an estimator to perform a proper inspection of damages sustained in this
loss. Based on a thorough inspection, Plaintiffs’ damages are as folloWs:

Property Damages $30,020.99
Deductible $1,390.00
Less Amount Paid -M
Amount Owed Per Policy $28,630.99
Statutory Interest To Date $3,841.33
Attorney's Fees $'7,000.001
Mental Anguish §_I_Q¢_QQQ;_QQ
Total Actual Damages To Date $49,472.32

ln addition to the above mentioned damages, the Texas Insurance Codez also allows for a jury
to award treble damages up to three times the amount of actual damages lf this case goes to
trial, We are confident that treble damages Will be awarded. That Would make ASI Lloyds
potentially responsible for an additional $98,944.64 in damages

We reserve the right to adjust the damage amounts once repairs are commenced and/or
completed if there is additional damage. Further, We reserve the right to adjust these amounts
to conform to the information and evidence that Will be available to us at the time of trial,
should litigation be necessary

In conjunction With the damages outlined above, we hereby demand $49,472.32 to be paid in
exchange for a release of any and all claims on behalf of Adrian Tello and Mary Ann Vasquez

 

1 This amount is based, in the opinion of Danny Ray Scott pursuant to the Arthur Andersen v. Perry
Equipmenf, Corp. 945 S.W. 2d 812 and the attorney’s fees as itemized through today and do not include any
itemization of future attorney’s fees incurred nor is any calculator applied to the gross amount. Based on experience
of counsel, if this case is not resolved but proceeds to trial, attorney’s fees will approximate $175,000.00 -
$350,000.()0 (based on the amolult of Work involved and required to prepare the case for trial).

2 Treble damages are figured at three times actual damages pursuant to Tex. Ins. Code Ait. 541.]52(3)(b)
factors as explained in ArrhurAndersen v. Perry Equipmenl, Corp. 945 S.W. 2d 812. This amount Will increase as
the case gets nearer to trial. In the likelihood of trial, Plaintiff anticipates that the amount of attorney’s fees will be
substantially higher than this amount.

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Tello.

If this matter is not settled quicl<ly, the amount of time spent on this claim and the amount of
attorney fees Will increase. We have been assigned an interest in this claim against your
company. The purpose of this letter is to encourage you to resolve our clients' claim in a fair
and equitable manner without th'e need for further legal action. In the event you fail to timely
respond to this letter with an offer of settlement that is acceptable to our clients, we will have no
alternative but to proceed with litigation against your company. Please forward all further
correspondence regarding this claim to our firm. If you have any written or recorded
statements or other investigation information pertaining to this claim, please forward a copy to

111 € .

If you are interested in resolving this matter without the necessity of further litigation, please
contact us within sixty (60) days. Please forward this letter to whoever needs to review it.

Request is made for the check to be made payable to Adrian Tello, Mary Ann Vasquez Tello,
and their attorney Danny Ray Scott. Our federal tax I.D. number is XX-XXXXXXX. l will provide a
W-9 upon request.

Sincerely,

/S/ Danny Ray Scott

DANNY RAY SCOTT

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Oscar ]. Hale, ]r.

State District Judge
406TH ]udicial District Court

lllO Victoria St., Suite 402
Laredo, Texas 78040
406@Webbcount:vtx . aov

 

TELEPHONE No. (956) 523-4954

FAx No. (956) 523-501»r

February 20, 2015

CAUSF, NO,: 20]5(1Vf()0(}510 D¢

STYLE: @RIAN TELLO
VS

ASl LLOYDS

Please take NOTICE that this case is set for CALENDAR CALL on 02/1 1/2015
at 2:00 PM at the 406th District Court, 4“‘ Floor7 Webb County Justice Center.

All Calendar Call hearings Will be in open court and on the record before the Honorable
Judge Oscar ]. Hale, ]r. Your presence is MANDATORY unless Counsel for Plaintifi`(s) and
Dei`endant(s) tile a joint Pre-Trial Guideline Order (PTGO) With all counsel signatures on the
PTGO.

You may download the PTGO at our Website: WWW.Webbcountytx.gov/DC4~06th/Forms

Counsel for Plaintiff(s) please note that if you fail to appear your case may be dismissed for
lack of prosecution.

Counsel for Defendant(s) please note that if you fail to appear for calendar call, a pre-trial
guideline order may be entered With or Without your approval and/ or signature

lf there are any questions regarding this matter please teel free to call our office at any tirne.

Cruz Maldonado
Civil Court Coordinator

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